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          EXHIBIT 48
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         Emergency Executive Order 238
         October 18, 2022

         Download Emergency Executive Order 238

         WHEREAS, on September 2, 2021, the federal monitor in the Nunez use-of-force class action stated
         steps must be taken immediately to address the conditions in the New York City jails; and

         WHEREAS, on June 14, 2022, the federal court in Nunez approved the Nunez Action Plan, which
         “represents a way to move forward with concrete measures now to address the ongoing crisis at
         Rikers Island”; and

         WHEREAS, while there has been improvement in excessive staff absenteeism, the Department of
         Correction’s (DOC’s) staffing levels continue to contribute to a rise in unrest and disorder and create a
         serious risk to the necessary maintenance and delivery of sanitary conditions; access to basic
         services including showers, meals, visitation, religious services, commissary, and recreation; and
         prompt processing at intake; and

         WHEREAS, this Order is given to prioritize compliance with the Nunez Action Plan and to address
         the effects of DOC’s staffing levels, the conditions at DOC facilities, and health operations; and

         WHEREAS, additional reasons for requiring the measures continued in this Order are set forth in
         Emergency Executive Order No. 140; and

         WHEREAS, the state of emergency existing within DOC facilities, first declared in Emergency
         Executive Order No. 241, dated September 15, 2021, and extended most recently by Emergency
         Executive Order No. 211, dated September 22, 2022, remains in

         effect;

         NOW, THEREFORE, pursuant to the powers vested in me by the laws of the State of New York and
         the City of New York, including but not limited to the New York Executive Law, the New York City



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         Charter and the Administrative Code of the City of New York, and the common law authority to protect
         the public in the event of an emergency:

         Section 1. I hereby direct that section 1 of Emergency Executive Order No. 233, dated October 12,
         2022, is extended for five (5) days.

         § 2. This Emergency Executive Order shall take effect immediately and shall remain in effect for five
         (5) days unless it is terminated or modified at an earlier date.

         Eric Adams
         Mayor




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